Case 3:22-cv-00578-MMH-MCR Document 52 Filed 06/17/22 Page 1 of 2 PageID 4186




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

 VIVIENNE DYAL, et al.

       Plaintiffs,

 v.                                              3:22-cv-00578-MMH-MCR

 LLOYD AUSTIN, III and
 KARL SCHULTZ, in their official capacities,

       Defendants.


 PLAINTIFFS’ UNOPPOSED MOTION FOR VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a), Plaintiffs Vivienne Dyal, Charles Mathis,

 Nicholas Poehler, and Andrew Rupp, by and through their undersigned

 counsel, moves to voluntarily dismiss all of their claims against Defendants

 without prejudice. Plaintiffs file this motion before Defendants have answered

 and before Defendants have filed a motion for summary judgment. Fed. R. Civ.

 P. 41(a)(1)(A).

                                     Respectfully submitted,



                                     /s/ Brandon Johnson
                                     DC Bar No. 491370
                                     /s/ Travis Miller
                                     TX Bar No. 24072952
                                     Defending the Republic
                                     2911 Turtle Creek Blvd., Suite 300
                                     Dallas, TX 75219
Case 3:22-cv-00578-MMH-MCR Document 52 Filed 06/17/22 Page 2 of 2 PageID 4187




                                        Tel. (214) 707-1775
                                        Email: bcj@defendingtherepublic.org
                                        Email: twm@defendingtherepublic.org



                            Certificate of Conference

       I hereby certify that on June 16, 2022, I conferred with counsel for

 Defendants and they were unopposed to this Motion.

                                        /s/ Brandon Johnson



                              Certificate of Service

       I hereby certify that on June 17, 2022, I electronically filed the foregoing

 notice with the Clerk of the Court by using the CM/ECF system, which will

 notify all attorneys of record of the filing.

                                        /s/ Travis Miller
